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 1                                                                HONORABLE RONALD B. LEIGHTON
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 8                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT TACOMA
10     UNITED STATES OF AMERICA
11                                                       Case No. CR05-5158RBL
                              Plaintiff,
12                     v.                                ORDER DENYING MOTION TO
13                                                       SEVER
       MICHAEL J. SHANAHAN
14                            Defendant.
15
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17          This matter is before the court on Defendant Michael Shanahan’s Motion to sever [Dkt. #121].

18   Defendant argues that the charges against him should be severed and tried separately from the charges against

19   his alleged co-conspirator, David Carroll Stephenson.

20          The common count against the defendants, Count I – conspiracy, is properly joined under Fed. R. Crim.

21   P. 8. Defendant argues that the defendant’s trial should be severed under Fed. R. Crim. P. 14, because the

22   defendant’s defenses are “mutually antagonistic” and/or “irreconcilable,” resulting in prejudice to the

23   defendants. However, Shanahan has not shown that the defenses are mutually antagonistic or irreconcilable.

24   The acquittal of one defendant would net necessarily result in the conviction of the other. Furthermore, the

25   core of Shanahan’s defense has not been shown to be irreconcilable with the core of Defendant Stephenson’s

26   defense. See United States v. Angwin, 271 F.3d 786, 795 (9th Cir. 2001); United States v. Throckmorton, 87

27   F.3d 1069 (9th Cir. 1996).

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     ORDER
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 1          Defendant Shanahan’s Motion to Sever [Dkt. #121] is therefore DENIED.
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 3          DATED this 1st day of February, 2006
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                                         RONALD B. LEIGHTON
 7                                       UNITED STATES DISTRICT JUDGE
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     ORDER
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